                        IN THE UNITED STATES DISTRICT COURT
                       FOR THE NORTHERN DISTRICT OF ILLINOIS
                                  EASTERI\ DIVISION


UNITED STATES OF AMEzuCA,                              )
  EX TCI. SHERMAN MAREK,                               )
                                                       ' 1=17-cv-08755
                         Plaintiff,
                                                       1 Judge Ruben Castillo
          v.                                           i Magistrate Judge Maria Valdez
-
                                                       )
TENET HEALTHCARE CORPORATION,                          )
VHS OF ILLINOIS,INC.,                                  )
MACNEAL HEALTH PROVIDERS, INC.                         )
CENTEGRA HEALTH SYSTEM,                                )
ADVOCATE HEALTH CARE NETWORK,                          )
ADVOCATE NORTH SIDE NETWORK,                           )      JURY TRIAL DEMANDED
ADVENTIST MIDWEST HEALTH,                              )
PRESENCE HEALTH NETWORK,                               )
SWEDISH COVENANT HOSPITAL,                             )
ILLINOIS HEALTH PARTNERS, LLC,                         )
NORTHWEST COMMI.INITY HOSPITAL,                        )
EDWARD-ELMHURST HEALTHCARE,                            )
RUSH HEALTH,                                           )
RIVERSIDE HEALTHCARE,                                  )
RUSH I-INIVERSITY MEDICAL CENTER,                      )
FAMILY HEALTH NETWORK,                                 )
LAND OF LINCOLN MUTUAL HEALTH                          )
  INSURANCE COMPANY,
METROPOLITAN CHICAGO HEALTHCARE
   COI-INCIL,
                                                       )
                                                       )
                                                       )
                                                                        FILED
    McHc-SgRVICE coRPoRATIoN, and                      )                   DEC 0 6   20uw
    ILLINOIS HEALTH AND HOSPITAL                       )
      ASSOCIATION,                                     )                THOMA$ G. BRUTON
                                                       )             GLERK U.S. UISTRICT couRT
                          Defendants.                  )


                                            COMPLAINT

           Plaintiff Relator SHERMAN MAREK ("Relator" or "Marek"), by counsel and pursuant

    to the qui tam provisions of the False Claims Act, 3l U.S.C. $$ 3729-3733 ("FCA"), files this

    Complaint against Defendants for knowingly submitting, causinB, and conspiring in false
statements, false claims and reverse false claims harming the United States of America

(ooGovernment"), and in support thereof states as follows:

                                I.      NATURE OF THE CASE

       1.      The defendant hospitals and health systems ("Hospitals"), acting through their

local trade association, applied for a federal loan to start a new healthcare insurance company.

They were awarded $160,154, 812, which was paid in 14 installments over the period of January

2013 through February 2016. The company, defendant Land of Lincoln Mutual Health

Insurance Co. ("Lincoln"), became insolvent and stopped operating as of September 30, 2016.

No part of the loan was ever repaid.

       2.      The loan was made under the Consumer Operated and Oriented Plan ("CO-OP")

program of the Patient Protection and Affordable Care Act,42 U.S.C. $ 18042. As reflected in

its name, the program imposed two crucial conditions. First, that Lincoln be "consumer

oierated." Second, that it be "consumer oriented." Specifics of these requirements were

detailed in the statute itself, and in formal rules, regulations and other materials adopted under

statutory authority by the Centers for Medicare and Medicaid Services ("CMS").

       3.      Regarding consumer operation, the Hospitals and their association, namely

defendant Metropolitan Chicago Healthcare Council ("MCHC"), were permitted to appoint

Lincoln's initial "formation" board of directors ("board"). However, the CO-OP program

tequired them to hold an election among Lincoln's insureds within a short period to replace the

formation board with an o'operational board" of independent directors free of any conflict of

interest. This requirement was particularly important in Lincoln's case because its "sponsoring"

Hospitals expected to have multi-million dollar contracts with Lincoln to provide services to its

insureds, and thus the Hospitals' financial interests were diametrically opposed to those of

6onsumers.
       4.      Regarding consumer orientation, Lincoln was required to design and operate its

insurance plans in a manner that would best serve the interests of consumers. Among other

things, this meant being free of conflicts of interest, especially conflicts involving healthcare

providers. It also meant maximizing the choices made available to consumers, and offering the

widest practicable variety of plans, providers and service locations to the broadest range of

potential enrollees. Of course, it also meant complying with laws intended to protect consumers,

including antitrust and consumer fraud laws.




Lincoln was not operated by its insureds, but was instead operated secretly by the Hospitals

through fraudulent elections populating the Lincoln board with Hospital executives and proxies.

Additionally, Lincoln was not operated for the benefit of its insureds, but instead fraudulently

induced consumers to enroll in plans by concealing Lincoln's financial instability and risk of

insolvency, and then funneled many millions of dollars in ill-gotten CO-OP loan proceeds,

member premiums, and other monies into the Hospitals' pockets as the exclusive'obusiness
;
partners" of Lincoln.

1       6.     Defendants submitted, caused, and conspired in several false statements, false

claims made to the Government, and reverse false claims avoiding repayment in connection with

the $160 million CO-OP loan. Relator, who was fraudulently induced to enroll in a Lincoln plan

bnd subsequently deprived of participation in any purported board "election," now brings this qui

iam actionunder the FCA to recover the full amount of the loan, and other relief, for the

Government.

                        U.     JURISDICTION. YENUE AND PARTIES

        7.     Relator brings this action on behalf of the United States of America for violations

of the FCA, 31 U.S.C. 55 3729-3733.
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        8.     This Court has subject matter jurisdiction pursuant to 28 U.S.C. $$ 1331 and

3732(a),which confer jurisdiction over actions brought under 31 U.S.C. $$ 3729 and3730.

        9.     This Court has personal jurisdiction over Defendants, and venue is proper here,
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pursuant to 31 U.S.C. $$ 3732(a) because Defendants are found, transact business, and

committed acts prohibited by 31 U.S.C. $ 3729 in this District.

        10. There has been no public disclosure, within the meaning of 3l U.S.C.
g 3730(e)(a)(A), of substantially the same allegations or transactions as alleged in this action or

claim in any federal criminal, civil, or administrative hearing in which the Government or its

agent is a party; or in a congressional, Govemment Accountability Office, or other federal report,

hearing, audit, or investigation; or from the news media.

        11. Even if a public disclosure had occurred, Relator is an original source within the
meaning of 31 U.S.C. $ 3730(e)(4) because, prior to any public disclosure, he has voluntarily

disclosed to the Government the information on which allegations or transactions in his claims

are based, and he has knowledge that is independent of and materially adds to any publicly

disclosed allegations or transactions, and he has voluntarily provided the information to the
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Government before filing this action in compliance with 31 U.S.C. $ 3730(bX2).

        12. Relator SHERMAN MAREK is a resident of Illinois. He was fraudulently
induced to enroll in a Lincoln plan for 2016 by Defendants' intentional failure to disclose

Lincoln's financial instability and risk of insolvency. Once enrolled, Marek was not afforded

any opportunity to participate in a nomination or election process for the Lincoln Board, the


frirported results of which were announced in or around April 2016.
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           13. The UNITED STATES OF AMERICA, real party in interest under the FCA, paid
    $160,154,812 to Lincoln under the Consumer Operated and Oriented Plan program of the Patient

Protection and Affordable Care Act,42 U.S.C. $ 18042.

           14. Defendant LAND OF LINCOLN MUTUAL HEALTH INSURANCE
COMPANY ("Lincoln") is aLife, Accident and Health Domestic Mutual corporation formed by

the Hospitals, through MCHC, in April20l3 under the Illinois Insurance Code, 215 ILCS 5ll et

seq. Lincoln is the successor to Metropolitan Chicago Healthcare Council Co-Op ("MCHC CO-

OP"), an Illinois not-for-profit formed by the Hospitals, through MCHC, in September 2011 for

the purpose of obtaining the CO-OP loan from the Government. In July 2016, Lincoln was

declared insolvent and placed under the control of the Illinois Department of Insurance ("IDOI")
    .




i:ursuant to an agreed rehabilitation order issued by the Circuit Court of Cook County, Illinois.

In September 2016, that court entered an agreed liquidation order. IDOI has appointed the

Offlrce of the Special Deputy Receiver to handle Lincoln's unresolved matters, including a

pending appeal in Lincoln's $75 million "risk corridor" lawsuit against the Government. See

Land of Lincoln Mutuol Health Insur. Co. v. United State,s, No. 17-1224 (Fed. Cir.) Liricoln is

found, transacts business, and committed acts prohibited by 31 U.S.C . S 3729 in this District.

Among other things, its main offrce was located in Chicago, Illinois.

I          IS.   DEfENdANt METROPOLITAN CHICAGO HEALTHCARE COI-INCIL

("MCHC") is an Illinois not-for-profit corporation. It is found, transacts business, and

committed acts prohibited by 31 U.S.C. S 3729 in this District. Among other things, its main

office was located in Chicago, Illinois and it created and governed Lincoln on behalf of the

Fiospitals throughout Lincoln's 2}l4-2}I6period of operation. Additionally, MCHC operated
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Lincoln on a daily basis, directly and through MCHC-Service, pursuant to certain multi-million
dollar management and personnel contracts that MCHC and MCHC-Service, acting for Lincoln,

entered into with themselves ("MCHC Contracts").

        16. Defendant MCHC-SERVICE CORPORATION ("MCHC-Service") is an Illinois
for-profit corporation wholly owned and operated by MCHC. It is found, transacts business, and

bommitted acts prohibited by 3l U.S.C. 5 3729 in this District. Among other things, MCHC-

Service employed the executive officers and other natural persons who operated Lincoln on a

daily basis. Lincoln had no employees of its own, and was staffed only by persons subcontracted

from MCHC and/or MCHC-Service.

        17. Defendant ILLINOIS HEALTH AND HOSPITAL ASSOCIATION ("IHA") is an
Illinois not-for-profit corporation. It is found, transacts business, and committed acts prohibited

by 31 U.S.C. 5 3729 in this District. Among other things, IHA absorbed MCHC by merger on

January l,2016 and controlled and operated MCHC, MCHC-Service and Lincoln as of that date,

which was prior to the close of 2016 plan enrollment on January 3I,2016 prior to the

Government's final CO-OP loan installment payment to Lincoln of $22,335,457 onFebruary 25,

2016; and prior to the sham "election" for the Lincoln board in or around April 2016.

       18. Defendant TENET HEALTHCARE CORPORATION (collectively with the
subsidiaries identified in this paragraph, "Tenet") is a Nevada for-profit corporation registered to

do business in Illinois. It is the parent corporation of Defendant VHS OF ILLINOIS, INC.'

("VHS"), a Delaware for-profit corporation that operates Defendant MACNEAL HEALTH

PROVIDERS, INC., dlblaChicago Health Systems ("MacNeal/CHS"), which in turn operates

four VHS-owned general acute care hospitals in Illinois, identified below. Tenet is found,

transacts business, and committed acts prohibited by 31 U.S.C.5 3729 in this District. Among
ofher things, it held a seat on the MCHC and/or IHA boards of directors and was a business

partner of Lincoln with respect to their joint and co-branded plans for 2016.

        19. Defendant CENTEGRA HEALTH SYSTEM ("Centegra") is an Illinois not-for-
profit corporation. Centegra owns and operates three general acute care hospitals in Illinois,

identified below. Centegra is found, transacts business, and committed acts prohibited by 31

U.S.C. 5 3729 in this District. Among other things, it held seats on the MCHC and/or IHA

bbards of directors, and on the Lincoln Board, and was a business partner of Lincoln with respect

io their joint and co-branded plans for 2016.

       20. Defendants ADVOCATE HEALTH CARE NETWORK, dlbla Advocate Health
Care, and ADVOCATE NORTH SIDE HEALTH NETWORK , dhlaAdvocate Illinois Masonic

Medical Center (collectively "Advocate") are Illinois not-for-profit corporations. Advocate

owns and operates eleven general acute care hospitals in Illinois, identified below. Advocate is

found, transacts business, and committed acts prohibited by 31 U.S.C . 5 3729 in this District.

A*org other things, it held a seat on the MCHC and/or IHA boards of directors and was a

business partner of Lincoln with respect to their joint and co-branded plans for 2016.

        21. Defendant ADVENTIST MIDWEST HEALTH ("Adventist") is an lllinois not-
for-profit corporation. Adventist operates four general acute care hospitals in Illinois, identified

below. Adventist is found, transacts business, and committed acts prohibited by 3l U.S.C. $

3729 inthis District. Among other things, it held a seat on the MCHC and/or IHA boards of

diiectors and was a business partner of Lincoln with respect to their joint and co-branded plans

ior 2016.

       22. Defendant PRESENCE HEALTH NETWORK (o'Presence"), dlblaPresence
Health, is an Illinois not-for-profit corporation. Presence owns and operates eleven general acute
care hospitals in Illinois, identified below. Presence is found, transacts business, and committed

acts prohibited by 31 U.S.C. 5 3729 in this District. Among other things, it held a seat on the

MCHC and/or IHA boards of directors and was a business partner of Lincoln with respect to

their joint and co-branded plans for 2016.

       23. Defendant SWEDISH COVENANT HOSPITAL ("Swedish Covenant") is an
Illinois not-for-profit corporation. Swedish Covenant owns and operates a general acute care

hospital located in Chicago, Illinois. Swedish Covenant is found, transacts business, and

cbmmitted acts prohibited by 31 U.S.C. 5 3729 in this District. Among other things, it held a

seat on the MCHC and/or IHA boards of directors and was a business partner of Lincoln with

respect to their joint and co-branded plans for 2016.

       24. Defendants ILLINOIS HEALTH PARTNERS, NORTHWEST COMMUNITY
HOSPITAL ("Northwest") and EDWARD-ELMHURST HEALTHCARE ("Edward-Elmhurst")

(collectively "IHP") are Illinois not-for-profit corporations. Northwest and Edward-Elmhurst are

lartners in IHP, and collectively operate three general acute care hospitals in Illinois, identified

below. IHP is found, transacts business, and committed acts prohibited by 31 U.S.C. g 3729 in

this District. Among other things, Northwest and Edward-Elmhurst held seats on the MCHC

and./or IHA boards of directors, and on the Lincoln Board, and IHP was a business partner of

Lincoln with respect to their joint and co-branded plans for 2016.
i      25. Defendants RUSH HEALTH, RIVERSIDE HEALTHCARE, and RUSH
IDIWERSITY MEDICAL CENTER (collectively "Rush./Riverside") are Illinois not-for-profit
;
corporations. Rush Health is a network that includes four general acute care hospitals in Illinois,

including Riverside Healthcare's Riverside Medical Center and Rush University Medical Center.

Rush is found, transacts business, and committed acts prohibited by 31 U.S.C. g 3729 in this
District. Among other things, Rush Health/Rush UMC held seats on the MCHC and/or IHA

boards of directors, and on the Lincoln Board, and Rush/Riverside was a business partner of

Lincoln with respect to their joint and co-branded plans for 2016.

       26. Defendant FAMILY HEALTH NETWORK ("FHN") is an Illinois not-for-profit
corporation. It is not a hospital system, but rather a Medicaid health plan operated by a group of

hospitals, including Presence and Swedish Covenant. FHN is found, transacts business, and

committed acts prohibited by 31 U.S.C. S 3729 in this District. Among other things, its

controllers Presence and Swedish Covenant held seats on the MCHC and/or IHA boards of

directors, and FHN held a seat on the Lincoln Board was a business partner of Lincoln with

respect to their joint and co-branded plans for 2016.

                                         III.    FACTS

       A.      The'oConsumer Operation" and "Consumer Orientation" Conditions
               of Lincoln's $160 Million Loan Under The CO-OP Program.

       27. Congress created the CO-OP program as a o'federal [oan] program to assist
establishment and operation of non-profit, member-run health insurance issuers" to be known as

CO-OPs. 42 U.S.C. $ 18042 (emphasis added). The material terms and conditions of CO-OP

loans were set forth in the statute, and in rules subsequently adopted by CMS. See 45 CFR $

156.500, et seq. CMS rules incorporated by reference (id. at g 156.510) all terms and conditions

set forth in the Funding Opportunity Announcement for CO-OP Loans, No. OO-COO-I1-001 as

revised December 9,2011 ("FOA"). As stated in CMS's CO-OP Program Guidance Manual

dated July 29,2015 ("CO-OP Manual"), at pp.3-4:

'             To participate in this program, CO-OPs entered into a Loan
              Agreement with CMS as a condition of receiving loan funds from
              CMS. The Loan Agreement sets forth, among other things, the
              CO-OP Program's programmatic requirements. Per section 7.1 of
              the Loan Agreement, a CO-OP must satisfu and meet all applicable
              requirements of the Affordable Care Act, and
              regulations... [including] but not necessarily limited to the
              regulations codified at 45 CFR Part 156, the terms of the [FOA],
              and any and all additional CO-OP Program guidance as may be
              issued or released by CMS.

       28.    One material condition, so critical that it was reflected in the program's title, was

that a CO-OP be "Consumer Operated." This meant being "orgarrized under State law as a

nonprofit, member corporation" with'ogovernance of the organization [] subject to a majority

vote of its members." 42 U.S.C. $ 18042(c)(1)(A) and (c)(3)(A). Indeed, insisting that a CO-

OP's insureds have sole authority to elect its board of directors was the mechanism that Congress

relied on exclusively to ensure ooconsumer operation." CMS regulations further emphasized this

material condition of a CO-OP loan and imposed detailed requirements (42 CFR $ 156.515(b)):


              (b) Governance requirements. A CO-OP must meet the
              following governance requirements :
              (l) Member control. A CO-OP must implement policies and
              procedures to foster and ensure member control of the
              organization. Accordingly, a CO-OP must meet the following
              requirements:
              (i) The CO-OP must be governed by an operational board with a
              majority of directors elected by a majority vote of a quorum of the
              CO-OP's members thatare age 18 or older;
              (ii) All members age 18 or older must be eligible to vote for each
              of the directors on the organization's operational board subject to a
              vote of the members under paragraph (b)(lxi) of this section;
              (iii) Each member age 18 or older must have one vote in each
              election for each director subject to a vote of the members under
              paragraph (bX1)(i) of this section in that election;

              (iv) The first elected directors of the organizatron's operational
              board must be elected no later than one year after the effective date
              on which the organization provides coverage to its first member;
              the entire operational board must be elected or in place, and in full
              compliance with paragraph (b)(1)(i) of this section, no later than
              two years after the same date;
              (v) Elections of the directors on the organization's operation board
              subject to a vote of the members under paragraph (bXl)(i) of this
              section must be contested so that the total number of candidates for

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contested seats on the operational board exceeds the number of
contested seats for such directors, except in cases where a seat
is vacated mid- term due to death, resignation, or removal.
(2) Standards for board of directors. The operational board for a
CO-OP must meet the following standards:
(i) Each director must meet ethical, conflict-of-interest,
and disclosure standards;

(ii) Each director has one vote;
(iii) Positions on the board of directors may be designated for
individuals with specialized expertise, experience, or affiliation
(for example, providers, employers, and unions); and
(iv) [Reserved]
(v) Limitation on government and issuer
participation. No representative of any Federal, State or local
government (or of any political subdivision or instrumentality
thereof) and no representative of any organization described in $
156.510(b)(l)(i) (in the case of a representative of a State or local
government or organization described in $ 156.510(b)(1)(i) with
respect to a State in which the CO-OP issues policies), may serve
on the CO-OP's formation board or as a director on the
or ganization's operational board.

(3) Ethics and conflict of interest protections. The CO-OP must
have governing documents that incorporate ethics, conflict of
interest, and disclosure standards. The standards must protect
against insurance industry involvement and interference. In
addition, the standards must ensure that each director acts in the
sole interest of the CO-OP, its members, and its local geographic
community as appropriate, avoids self dealing, and acts prudently
and consistently with the terms of the CO-OP's governance
documents and applicable State and Federal law. At a minimum,
these standards must include:

(r) A mechanism to identify potential ethical or other conflicts of
interest;
(iD A duty on the CO-OP's executive officers and directors to
disclose all potential conflicts of interest;
(iii) A process to determine the extent to which a conflict exists;
(iv) A process to address any conflict of interest; and
(v) A process to be followed in the event a director or executive
officer of the CO-OP violates these standards.


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               (4) Consumerfocus. The CO-OP must operate with a strong
               consumer focus, including timeliness, responsiveness, and
               accountability to members.
        29.    o'Because
                           it is impossible to meet this standard prior to actually enrolling

members" (FOA, at 9), the Government authorized the "sponsor" who created and developed the

CO-OP to appoint a "formation board" to temporarily govern the insurer for up to two years after

starting coverage under its plans. 45 CFR $$ 156.505,156.515(b)(1)(iv); FOA, at 9. Crucially,

however, the sponsor on or before that date was obligated to hold an election among its insureds

to form an independent oooperational board" to which the sponsor would transfer control. Id. By

requiring a CO-OP to be organized as a nonprofit under state law, the ACA incorporated by

reference those laws with respect to further details of board elections. Under applicable Illinois

law, "written notice [of members' meetings] stating the place, day, and hour of the meeting ...

shall be delivered not less than 5 nor more than 60 days before the date of the meeting.. .." 805

II-CS 105/1 07.I5. Of course, the requirements for member elections set forth in the ACA and

CMS regulations could not be legitimately met without proper notice to member under Illinois

state law.

        30. Another material condition, also so important that it was reflected in the
program's title, was that a CO-OP be "Consumer Oriented," i.e. thatit "operate with a strong

consumer focus. ..." 42 U.S.C. $ 180a2(c)(4). Being consumer oriented meant acting in its

members' best interests in all ways, for example using any profits "to lower premiums, to

improve benefits, or for other programs intended to improve the quality of health care delivered

to its members" (42 U.S.C. $ 18042(c)(4)), and to ensure that the CO-OP's directors, and thus

the CO-OP itself, "acts in the sole interest of the CO-OP, its members, and its local geographic

community as appropriate, avoids self dealing, and acts prudently and consistently with the terms




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of the CO-OP's governance documents and applicable State and Federal law." 42 CFR $

ls6.s1s(bx3).

        31. Such laws included state insurance laws, including laws relating to an insurer's
"market conduct." 42 U.S.C. $$ 180a2(cx5), 18044(b). Illinois law regarding an insurer's

market conduct prohibits unfair and deceptive acts and practices. 215 ILCS 51423. Unfair acts

and practices include misrepresenting the insurer's financial condition in marketing materials.

See, e.g.,215 ILCS 51I47-149. Thus, to the extent it would be otherwise unclear, a CO-OP loan

was conditioned on the CO-OP not fraudulently inducing consumers to enroll in its plans,

particularly on the basis of its financial condition. See also,45 CFR 156.520(c)(3) (CMS may

ierminate a loan and demand full repayment, including interest and penalties, if it "has reason to

believe that the organization engages in, or has engaged in, criminal or fraudulent activities or

activities that cause material harm to the organization's members...").

       32. Failure to comply with the conditions of a CO-OP loan, including consumer
operation and orientation, resulted not only in the suspension of future installment payments of

ihe loan, but also triggered an obligation to repay all prior installments, and potentially a ten-

percent penalty plus interest on the entire amount owed. 42 U.S.C. $ 18042(b)(2)(CXi) ("any

person receiving a loan or grant under the CO-OP program [must]...meet (and continue to

meet)" all program requirements); $180a2(bX2XCXiii) (if "a person has failed to meet any

requirement...such person shall repay to [CMS] an amount equal to the sum of 110 percent of

the aggregate amount of loans...plus interest"). See also,45 CFR $ 156.520(c)(3) (loan terms

include accelerated repayment of entire amount for non-compliance); FOA at 18,1g,23.

       33. The conditions of a CO-OP loan were binding not only on the CO-OP itself, but
also on any third parties that the CO-OP might retain for any role or function. Thus, a CO-OP




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was responsible for the compliance of all "delegated and downstream entities." 45 CFR $

156.3a0(a). See also, FOA at 18 (CMS could terminate a Loan Agreement and demand

repayment "if the [CO-OP], its providers and suppliers, or contracted entities performing

services on its behalf'violate program requirements); FOA at23 ("to remain eligible for future

installment payments, a CO-OP was obligated to 'orequire any contractors to comply with the

loan recipient's obligations related to the contractor's scope of work," and to o'ensure that any

contract between the CO-OP and a contractor for administrative...services includes provisions

that protect consumer control of the organization.")

       B.      Claims Submitted To The Government In Connection With The CO-
               OP Loan, And Statements To The Government And To Consumers
'              Material To Those Claims.

       34.     Lincoln, MCHC, MCHC-Service and IHA submitted several statements and

claims for payment to the Government in connection with Lincoln's loan application and

subsequent installment payments under the CO-OP program. Additionally, the Hospitals joined

those Defendants in making and using additional statements to Relator and other consumers that

were material to claims for installment payments under the CO-OP program. Lincoln

subcontracted the entirety of its management and staffing to MCHC-Service, and the natural

persons who submitted or caused the submission of statements and claims on behalf of Lincoln

to the Government, and to Relator and other consumers, were executives and other personnel

employed by MCHC and MCHC-Service (and/or IHA after its acquisition of those entities on

January 1,2016).

       35.     More specifically, in late 2012, MCHC caused Lincoln to enter into the MCHC

Contracts, effective January l,2}l3, hiring MCHC-Service, a wholly owned subsidiary of

MCHC, to supply all executive managers, financial and accounting management, human

resources, public relations, technology, and operational personnel to Lincoln. Lincoln employed

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no personnel of its own, and no one staffing Lincoln was independent of MCHC. Instead, all

were employees of MCHC-Service who answered ultimately to the MCHC board. Indeed, the

executive officers assigned to Lincoln were not only MCHC-Service employees, but were also

interlocking officers of MCHC itself. For example, Kevin Scanlan, an employee of MCHC-

Service assigned to be Lincoln's Chairman of the board, was also MCHC's President. Daniel

Yunker, an employee of MCHC-Service assigned to be Lincoln's President, was also MCHC's
l
Senior VP and Chief Financial Officer. Dennis Nzzo, an employee of MCHC-Service assigned

to be Lincoln's Chief Financial Officer, was also MCHC's VP of Finance and Operations.

Monica Katz, an employee of MCHC-Service assigned to be Lincoln's VP of Operations, was

also MCHC's benefit plan director.

:      36. Among other statements and claims, Lincoln, MCHC, MCHC-service and/or IHA
submitted at least 14 claims for payment in connection with Lincoln's CO-OP loan, one for each

installment paid to Lincoln by the Government. Moreover, each payment was conditioned on

Lincoln's compliance with the statutory, regulatory, and contractual requirements of the CO-OP

loan program, in particular the requirements of consumer operation and consumer orientation.

The Government's payments, categorized as either "startup" or "solvency" loans having different

interest rates and repayment schedules, were made by the Govemment to Lincoln on the

following dates in the following amounts:

                   7,2013 $ 6,205,000 startup
              January
              April5,2013 $ 800,000 startup
              April23,20l3 $ 175,000 startup
              April23,2013 $ 2,000,000 solvency
              Jvne2l,20l3 $ 2,234,000 startup
              June2l,2013 $15,940,412 solvency
              September 20,2013 $ 2,027,4I2 startup
              December 20,20t3 $ 4,240,000 startup
              March  21,2014 $      259,000 startup
              March  27,2014    $19,570,589 solvency

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               February26,2015 $30,417,000 solvency
               August   7,2015         $18,610,942 solvency
               November3,2015 $35,340,000 solvency
               February 25,2016 $22,335,457 solvency

               rorAI, Payments: ili6,il--,ii,
        37. In addition to claims for payment associated with these 14 installments, Lincoln,
MCHC, MCHC-Service and/or IHA submitted other claims and statements to the Government in

connection with the CO-OP loan. For example, Section l0 of Lincoln's loan agreement required

that it submit quarterly and semi-annual progress reports to CMS to assist in "monitoring

program integrity and compliance." CO-OP Manual, at 5. Lincoln's progress reports to CMS

included, among other things, copies of quarterly, semi-annual and annual reports submitted by

Lincoln to IDOI through the National Association of Insurance Commissioners ("NAIC

Reports"), as required for state licensing. Id., at 9-10. On their front page, the NAIC reports

iequired the notarized signature of a CO-OP's CEO, President, CFO or similar top executive

officer, who was attesting "that this statement, together with related exhibits, schedules and

explanations therein contained...is a full and true statement...of the affairs of the said reporting

entity...."

        38. Lincoln's NAIC Reports contained this certification and other statements attesting
to compliance with various conditions of its CO-OP loan, including the consumer operation and

brientation requirements. For example, Lincoln's "Statutory Financial Report with Supplemental

Information as of December 31, 2015," submitted to NAIC on or about May 31,2016, stated at

p. 8 that Lincoln was "consumer operated and oriented," that it was "consumer-focused [and]

tnember-governed," and that it "was governed by its formation board of directors through April

1,2014. From and after April2,2014, the business and affairs of [Lincoln] are managed by a

permanent board of directors, elected by the members of [Lincoln]."

'ru
MCHC-Service and/or IHA submitted tax returns to the IRS in order to claim the exemption

establishedforCO-OPsin26U.S.C.$501(c)(29). Theexemptionrequired,amongotherthings,

compliance with the conditions of Lincoln's CO-OP loan, and Lincoln's Form 990 return made

that representation accordingly. For example, Lincoln's Form 990 for 2014, filed in November

2015, attested at pp. 2 and 6 that ten of l1 members on Lincoln's Board were "independent" and

that Lincoln was "consumer operated and oriented."

'       40.    Moreover, Defendants made several statements to Relator and other consumers in

late20l5 and early 2016 that were material to Lincoln's claims to receive-and to keep-CO-

OP loan installments. See 31 U.S.C. $ 3729(aX1)(G) (imposing liability not only for false

statements made to the Government, but more broadly to anyone when the statements are

"material to a false or fraudulent claim.") As alleged more fully below, Defendants made several

statements to Relator and other consumers relevant to Defendants' sham elections for the

Lincoln board (section IL C. i., infra) and relevant to Defendants' fraudulent inducement of

Relator and other consumers to enroll in Lincoln plans (section II. C. ii., infra). Those

statements included, as alleged fully below, a wide variety of hardcopy mailings and electronic

communications relating to the Lincoln plans, for example promotional brochures, plan

summaries, enrollment confirmation letters, a member guide, a resource guide, Explanations of

Eenefits, and emails, all of which concealed the facts that (a) the Hospitals, and not consumers,

were controlling Lincoln, and (b) Lincoln was financially unstable and at risk of insolven cy. Id.




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       C.       Defendants' Fraud In Connection With The CO-OP Loan.

                (D     Lincoln Was Not'6Consumer Operated," But Instead
                       Operated By Defendants Though Proxies And Sham Elections.

        41.     As of January 1,2016, Relator was over the age of eighteen and was an

"individual covered under health insurance policies issued by" Lincoln, and was therefore a
oomember"
            entitled to participate in the election of its board of directors. 45 CFR $$ 156.505,

156.515(b)(\; a2 U.S.C. $ 180a2(c)(3). However, the Hospitals did not allow any legitimate

election to occur, and thus Lincoln was not "consumer operated" in20l6 (or earlier for that

matter). Instead, the Hospitals fraudulently operated Lincoln on their own in violation of

statutory, regulatory and contractual requirements.

       42.      The o'results" of the purported 2016 Lincoln board election speak for themselves,

as do those of the purported 2015 and 2014 elections. As alleged more fully below, no one was

elected----or even nominated----except Hospital executives and proxies. The Hospitals achieved

this result by failing to provide some or all insureds with proper notice of the date and time of the

2016 election; by failing to advise some or all insureds that'oconsumer operated" meant a board

of directors elected by insureds and that they had the right to participate; and by presenting only

Hospital executives and proxies as candidates, leaving insureds with no meaningful choice or

impact atall, even if they learned of the election and voted.

       43.     For example, Relator received no notice of the election as required by 805 ILCS

1'05/107.15. Relator received several communications from Lincoln between November 2015,

when he enrolled in one of its plans, and April 19,2016, when the Board election was

furportedly held, but none of those communications specified a "place, day, and hour of the

meeting" as required. 1d. Omissive communications included those identified below (the

Lincoln brochure, Lincoln plan summaries, enrollment confirmation letter, member guide, and


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resource guide), as well as a hardcopy invoice (dated November 25,2015); and several emails

from Lincoln to Relator confirming enrollment (sent on November 30, 2015); outlining coverage

(December 15,2015 and December 30, 2015); confirming receipt of premiums (February 4,

2016, March 1,2016, and March 29,2016); and conveying "member news" (February 29,2016

and April 6,2017). Lincoln's website contended that all members would be supposedly sent an

election notice and proxy form "in early March," but Relator never received one and has no

reason to believe that any other members did.

       44.     Additionally, none of Lincoln's communications to Relator even mentioned a

board election, or otherwise put Relator on notice such that he could contact Lincoln himself for

details. In this regard, too, Relator has no reason to believe that he was treated uniquely, or that

the boilerplate forms and emails sent by Lincoln to other insureds contained references to a

board election in2016 (even if general references would satisfr board election requirements

under Illinois law, which they would not). After Lincoln became insolvent in July 20t6,Relator

found a version of Lincoln's website as it existed on March 27,2016, and the website did in fact
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c'ontain an obscure page about a supposed board election to be held on April 19,2016. However,

the page was buried among hundreds of other webpages, and nothing had given Relator or other

insureds any indication this information existed, or a reason to go look for it.

       45.     Moreover, to the extent any Lincoln insureds were properly notified or managed

to learn of a purported April 2016 election, the Hospitals prevented insureds from having any

meaningful impact by having its o'nominating committee" present only Defendants' own

ekecutives and proxies as candidates. Voters had only five candidates to choose from, four

i{ospital executives or proxies who are described more fully below (Kevin Scanlan, Melinda

Kelly, Eric Spratford and Daniel Alex), plus Timothy Eckles, a Vice-President at Hospital Sisters



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Health System in Springfield, Illinois ("HSHS"). Only one of the five candidates, namely

Eckles, was not subsequently seated on the Lincoln Board, but he too was closely tied to the

Hospitals; his superior, HSHS President/CEO Mary Starmann-Harrison, was on the board of

IHA, successor to MCHC, in April 2016.

       46.    Depriving Relator and other insureds of notice and an opportunity to participate in

any nomination and election process enabled the Hospitals, through IHA, MCHC and MCHC-

Service, to manipulate the purported election and prolong their own control of Lincoln beyond

the time allowed by the terms of their CO-OP loan. The Hospitals' fraudulent conduct as to the

2016 election was simply a continuation of misconduct dating back to April 2014 when they first

claimed-falsely-to have relinquished control of Lincoln to consumers.

       47.    More specifically, the Hospitals, acting through Lincoln's nominal "sponsor"

MCHC, created Lincoln's "formation board" in2013 and filled all director positions with

Hospital-related appointees, including top executive officers of MCHC and the Hospitals. For

example, the Chairman of Lincoln's formation board was Kevin Scanlan (MCHC's President),

its Treasurer was Vincent Pryor (CFO of Defendant Edward-Elmhurst), and addiiional directors

included Brent Estes (CEO of Defendant Rush Health) and Jason Sciarro (President and COO of

Defendant Centegra). Defendants Edward-Elmhurst, Rush/Riverside and Centegra all held seats

on MCHC's board. A11 other directors on Lincoln's formation board were also appointed by, and

connected to, the Hospitals, consisting of Juan Salgado (who had previously received money

from MCHC and Defendant Rush for one of his projects), Melinda Kelly (who operated an entity

that had Lincoln and MCHC-member hospital University of Chicago Medical Center as

borporate members), James Gillespie (who operated an entity that had MCHC President Scanlan

on its board and engaged in joint projects with MCHC), John Carpenter (who was an officer of



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an entity having an executive of Defendant Presence on its board), and Marshall Hatch (who had

worked with Defendant Rush on a previous project and was associated with an entity receiving

money from Defendant Advocate).

        48.    Although it was permitted, even expected, that a sponsor would temporarily

control its own startup by filling the formation board with the sponsor's proxies, it was not

permitted to for the sponsor to control the subsequent operational boards or manipulate the

blection process to that end. Yet when Lincoln purportedly relinquished control to consumers by

holding its first operational board election on April l,2}l4,each and every one of the nine

Hospital proxies on the formation board was "elected" to the operational board (namely Scanlan,

Pryor, Estes, Sciarro, Salgado, Kelly, Gillespie, Carpenter, and Hatch.) The only difference

between Lincoln's formation and operational boards was that four new directors were added to

the latter, but all of them were Hospital proxies as well: Keith Kudla (CEO of Defendant FHN,

bn entity controlled by Defendants Presence and Swedish Covenant); Elliot Richardson (CEO of

the Small Business Advocacy Council, an entity having MCHC President Daniel Yunker on its

Executive Committee); J. Todd Phillips (who had been working with MCHC on the Lincoln

startup venture as early as March 2010); andLarry L. Donaldson (a hospital and healthcare

consultant with ties to MCHC and the Hospitals). None of the directors on Lincoln's first

bperational board were free of conflicts of interest, much less were they prominent consumer

advocates or other effective voices for Lincoln's rank-and-file insureds.

|       49. Lincoln's purported "election" for the board in April 2015 was no more legitimate
than the sham elections in April2014 or April 2016. In April 2015, ten of the Hospital proxies

ftom20l4 were "re-elected," namely Scanlan, Pryor, Estes, Sciarro, Salgado, Kelly, Kudla,

Richardson, Phillips and Donaldson. The only new directors "elected" in April 2015 were also
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Hospital proxies: Trisha Homans (a private healthcare consultant who was thereafter hired as

Chief of Staff at Defendant Rush University Medical Center), and Richard Buchler (who

operated a hospital supply company that solicited and sold products to hospitals). Like Lincoln's

first operational board, none of the directors on Lincoln's second operational board were free of

conflicts of interest, much less effective consumer advocates representing Lincoln's insureds as

the ACA required.

             50. Similarly, the fraudulent election in April 20l6,from which Relator and
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potentially tens of thousands of other Lincoln insureds were excluded, resulted in a Lincoln

board consisting of Hospital executives and proxies. In April2016, eight of the directors from

2015 retained their seats, namely Scanlan, Kelly, Richardson, Donaldson, Phillips, Kudla,

Homans and Buchler, and the only new directors added were also Hospital proxies: Yunker

(MCHC's CEO and its successor IHA's Executive Vice-President), Daniel Alex (who operated a

hospital supply company that solicited and sold products to hospitals), and Eric Spratford (a

faculty member at Defendant Adventist's La Grange hospital). Like Lincoln's first and second

operational boards, none of the directors on Lincoln's third operational board were free of

conflicts of interest, much less effective consumer advocates representing Lincoln's insureds as

the CO-OP loan terms required. It is not clear how Yunker, who was not identified as a

    candidate on Lincoln's website as of March27,2016, managed to obtain a seat on the Lincoln

    toard.

    '        51.    In any event, the Hospitals did not need their proxies on the Lincoln Board to

    hctively control Lincoln for the Hospitals' benefit, but only to 'ostay out of the way" while IHA,

    MCHC and MCHC-service personnel operated Lincoln on a daily basis. Those persons, who

    ran Lincoln under the MCHC Contracts through 2015 and formal or informal extensions into



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2ol6,were already controlled by the Hospitals through the Hospitals' seats on the MCHC and

IHA boards. For example, Yunker, who was MCHC's CEO and IHA's Executive VP, and an

employee of MCHC-Service, doubled as Lincoln's CEO, and Jason Montrie, who was an

employee of MCHC-Service, doubled as Lincoln's President.

               (iD     Lincoln Was Not "Consumer Oriented," But Instead Sold
                       Plans Designed By Defendants To Enrich The Hospitals.

        52. Defendants exercised their secret control over Lincoln to design and operate
insurance plans for 2016 that funneled money (CO-OP loan proceeds, member premiums and

more) to the Hospitals. Not only did Defendants fail to orient Lincoln to consumers, but in fact

oriented Lincoln aeainst consumers in many ways, including by restricting their choices and

benefits when it suited the Hospitals' interests.

       53. Defendants Lincoln, MCHC, MCHC-Service and IHA were directly involved in
the improper funnel design and operation of Lincoln plans for 2016. Lincoln acted solely

through executives and other natural persons employed by MCHC, MCHC-Service and/or IHA

hnd subcontracted to Lincoln. However, the Hospitals were also directly involved in the design

hnd operation of Lincoln plans for 2016 because they were business partners of Lincoln who

jointly designed and operated their respective co-branded plans. Moreover, the Hospitals

coordinated their respective co-branded plans through Lincoln (1.e. MCHC, MCHC-Service and

IHA personnel), agreeing with all other Hospitals on identical or parallel terms for their

iespective plans. Thus, while all of the Hospitals were also involved in the design and operation

bf Lincoln plans in their capacity as directors on the MCHC and IHA boards (and Centegra, IHP

and Rush/Riverside in their capacity as directors on the Lincoln board), the Hospitals'
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participation and liability in the design and operation of Lincoln plans is direct rather than

vicarious or derivative.


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       54.     Defendants oriented Lincoln's plans for 2016 to the Hospitals, and not consumers,

by making the overwhelming majority of it plans "Preferred Partner 3-Tier Plans," with the

Hospitals as the only o'preferred partners." The 3-Tier plans offered the highest level of benefits

for using a partner Hospital and its physicians, for example Tenet's four hospitals in Illinois and

their physician groups (Tier 1); a far-distant second level ofbenefits for using a broader set of

"in network" providers (Tier 2); and even less for using any other providers (Tier 3). Lincoln

had not offered 3-Tier plans at all for 2014, and had balanced 3-Tier plans with traditional plans

for 2015. However, the overwhelming majority of its plans for 2016 were 3-Tier plans, and all

of those plans had a hospital sitting on the MCHC board as its partner. More specifically, 18 of

21 individual and famity plans, and 30 of 37 small group plans, offered by Lincoln for 2016 were

3-Tier plans with Tenet, Centegra, Advocate, Adventist, Presence, Swedish Covenant, IHP,

Rush/Riverside, or FHN (controlled by Presence and Swedish Covenant) as Lincoln's partner.

       55.     Defendants also oriented Lincoln's plans for 2016 to the Hospitals, and not

consumers, by dividing the Chicago-area market geographically to maintain proportionality to

the funnels. For example, Lincoln's 3-Tier plans were generally limited to residents in counties

where the respective Hospital maintained a facility , e.g. Tenet's 3-Tier plan was offered only in '

Cook County where its four hospitals were located. Of course, geographic restrictions were

contrary to the interests of consumers, particularly commuters or others who might reside in one

county but prefer to receive services in another county. Defendants made certain exceptions

only when it suited their interests, for example allowing Centegra (whose CEO was Chairman of

the MCHC Board, and whose CFO was Treasurer of the Lincoln Board) to sell its 3-Tier plans in

Lake County in addition to McHenry County where its three hospitals were located. Indeed,

Defendants imposed geographic limits even within a Hospital's own system when it suited them.



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For example, Adventist's 3-Tier plan included only its Glenoaks and Hinsdale hospitals at the

Tier I level of benefits, leaving consumers near the Adventist La Grange hospital to Tenet's

nearby Westlake hospital, and leaving consumers near Adventist's Bolingbrook hospital to

nearby Presence hospitals.

       56.     Even when it came to Lincoln's "standard" PPO plans for 2016,i.e. its handful of

offerings apart from 3-Tier plans with a partnering Hospital, Defendants could not help but favor

themselves at the expense of consumers' interests. For example, virtually all hospitals in the

Chicago metropolitan area were "in network" under Lincoln's standard PPO plans, except for

certain hospitals that competed directly in the same neighborhood as a facility run by one of the

Hbspitals. The excluded hospitals included Ingalls Memorial (near Defendant Advocate's South

Suburban facility); Jackson Park Hospital and Roseland Hospital (both near Defendant

Advocate's Trinity facility); Methodist Hospital (near Defendant Swedish Covenant); and Silver

Cross Hospital (near Defendants Adventist's Bolingbrook and Presence's Joliet facilities).

        57. By exercising their secret control over Lincoln to design and operate insurance
plans for 2016 that funneled money to the Hospitals and not their competitors, and by

m'aintaining a rough proportionality to those funnels at the expense of consumer choice ,

Defendants acted in their own interests and not in a "consumer oriented" fashion. In turn, by

orienting Lincoln's business to themselves, the Hospitals not only steered many millions of

dollars in CO-OP loan money and member premiums to themselves, but also many millions of

dollars more in the form of deductibles, co-insurance, co-pays and other charges paid directly by

Lincoln's insureds and not by the company itself. In fact, setting aside their obligation to orient

Lincoln to consumers and focusing instead on their mere obligation to comply with all applicable

federal and state laws, Defendants' coordinated conduct also violated the Sherman Act.



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               (iii)   Lincoln Was Not'(Consumer Oriented," But Instead Operated
                       By Defendants To Fraudulently Induce Enrollment.

       58.     Defendants not only usurped control of Lincoln through sham "elections,"

contrary to the CO-OP loan's consumer operation requirement, and exercised that control to

create funnels to the Hospitals, contrary to the loan's consumer orientation requirement, but

further abused consumers by fraudulently inducing enrollment in Lincoln's 2016 plans in order

to maximize the flow of money through the funnels. More specifically, Defendants agreed to,

and did, consciously and actively conceal Lincoln's financial instability and insolvency risk from

potential enrollees, including Relator.

        59.    On or about November 25,2015, Relator enrolled in a Lincoln healthcare

insurance plan through the online exchange established under the ACA ("Marketplace"),

ipecifically he enrolled in the Land of Lincoln Health Traditional Gold PPO for 2016. Relator

was not aware of Lincoln's financial instability or risk of insolvency at the time of his

enrollment, and if he had known he would not have enrolled. The Marketplace's open

enrollment continued through the end of January 2016, and Relator was free to cancel his

Lincoln plan and enroll in a substitute plan during that period. Relator did not become aware of

Lincoln's financial instability or risk of insolvency during that period, however, and if he had

learned of them he would have cancelled his Lincoln plan and enrolled in a substitute plan.

       60.     At or around the date of his enrollment, Relator received and reviewed several

communications and marketing materials from Lincoln pursuant to its standard policies and

procedures. For example, Lincoln posted on the Marketplace a2}-page brochure entitled

"Individual & Family Health Insurance Plans" and several 8-page "summaries of Benefits and

Coverage" (one for each of several different types of Lincoln plans). Additionally, within days

of enrolling in a Lincoln plan, Relator received hardcopies in the U.S. mail of a letter from


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Lincoln confirming his successful enrollment in its plan; a "Member Guide" containing

information about the plan; and a "Resource Guide" containing the Summary for his plan, a copy

of his full insurance policy, and related documents. Additionally, Relator received a hardcopy

invoice from Lincoln dated November 25,2015, and emails from Lincoln on November 30,

2015, December 15,2015, and December 30, 2015, on various subjects related to his enrollment.

        61. None of these communications disclosed the material facts that Lincoln was
financially unstable; that it was at heightened risk of a mid-year insolvency in20l6:" that it was

expected to have, and did have, an operating loss of $91 million for calendar year 2015; that it

was dependent on certain "risk corridor" funds that it had anticipated receiving in October 2015

and anticipated receiving again in October 2016; that IDOI and CMS had expressed concern

about Lincoln's financial viability; and that Lincoln was operating under "corrective action

plans" imposed by IDOI and CMS for that reason. Additionally, all of these materials omitted

the material fact that Lincoln was not in "consumer operated," but was instead still operated by

the Hospitals as a result of sham board of director "elections." Relator relied on these omissive

materials in enrolling in a Lincoln plan for 201,6, and also relied on them in remaining enrolled in

the Lincoln plan through the date on which Relator could change plans, namely January 31,

2016.

        62. By the time Lincoln became insolvent in July 2016 andRelator's plan was
terminated, the Hospitals had benefited greatly from their decision to operate Lincoln into 2016

hnd not close it at the end of 2015. Operating Lincoln in20l6 was a "no lose" proposition for

the Hospitals, regardless of Lincoln's potential insolvency and consequent severe harm to

insureds if a mid-year shutdown occurred. Making the most of Lincoln's final nine months, the

Hospitals implemented dozens of "Partner" plans funneling money to themselves and few plans



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allowing it to go anywhere else. Lincoln paid out $77,353 ,702 to hospitals and other providers

through the first six months of 2016 alone, and at least another $40 million by the time coverage

ended on September 30, 2016, much of it to the Hospitals and their physician groups.

Additionally, apart from funds paid to them by Lincoln, the Hospitals and their physicians were

paid millions of dollars in 2016 by consumer enrollees directly in the form of deductibles, co-

pays and co-insurance amounts.

        63. As alleged above, the Hospitals were the sole "partners" for Lincoln's individual
anO famly plans in 2016. As partners, the Hospitals jointly with Lincoln, IHA, MCHC and


MCHC-service executives and personnel designed and distributed the marketing and enrollment

materials bearing their respective names, specifically Lincoln's "Preferred Partner'3-Tier PPO

Plans." In addition to jointly designing and distributing omissive materials regarding their

respective Partner plans, each Hospital agreed with each other, and with Lincoln, MCHC and

MCHC-service executives and staff, that omissive communications would be designed and

distributed for all Lincoln plans. Without that aspect of Defendants' agreement, and if the

material fact of Lincoln's financial distress had been disclosed in connection with any Lincoln

plan or in any other form or forum, it would have defeated the purpose of the omissive

communications and instead prevented enrollments.

       64.     Like MCHC, IHA and MCHC-Service, whose executives and personnel operated

Lincoln on a daily basis, each Hospital was acutely aware of Lincoln's financial instability and

iiotential insolvency because the Hospitals were governing Lincoln through their seats on the

tincoln, MCHC and/or IHA boards of directors.

        65. By exercising their secret control over Lincoln to fraudulently induce enrollment
in Lincoln's 2016 plans, a scheme rooted in the Hospitals' conflicts of interest that would not



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have been perpetrated if fellow consumers had been governing Lincoln, Defendants acted in their

                             o'consumer oriented" fashion. Defendants' artificial inflation of
own interests and not in a

Lincoln's enrollment not only increased the amount of insureds' premiums funneled to the

Hospitals, but also contributed to Lincoln's satisfaction of a CO-OP loan enrollment milestone

that triggered payment of the Government's final installment of $22,335,457 onFebruary 25,

2016. Setting aside their obligation to orient Lincoln to consumers and focusing instead on their

mere obligation to comply with all applicable federal and state laws, Defendants' coordinated

conduct also violated the Illinois Consumer Fraud Act.

       D.      Defendants' False Statements. False Claims And Reverse False



,       66. Each and every Defendant acted with actual knowledge, reckless disregard, andior
deliberate ignorance in submitting, causing and conspiring in false statements and false claims

submiued to the Government in connection with Lincoln's loan under the CO-OP program, and

in connection with Lincoln's failure to repay the loan in full when non-compliance with CO-OP

requirements triggered that obligation. The false statements, false claims and reverse false

claims arose from the Hospital's deliberate strategy of usurping control of Lincoln through sham

'oelections," and then using that control to design and operate a collection of insurance plans that

funneled money to themselves in way that was indifferent, and often contrary, to the interests of

consumers. Indeed, the Hospitals vastly increased the amount of money flowing to themselves

by concealing Lincoln's financial instability and risk of insolvency, thereby fraudulently

inducing consumers to enroll in Lincoln plans.

' ''   67.     As demonstrated by allegations throughout this Complaint, Defendants'

misconduct was "knowing" in nature. Among other things, Lincoln, MCHC, MCHC-Service

and IHA systematically and repeatedly lied to the Government over a long period of time in


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quarterly NAIC Reports, and in annual tax retums, falsely claiming that the Hospitals had turned

control of Lincoln over to consumers. The Hospitals also systematically and repeatedly lied to

consumers over a long period of time in omissive marketing materials that falsely stated or

implied financial stability and solvency. The Hospitals in their own names participated directly

in the latter, jointly designing and disseminating the marketing and enrollment materials for their

respective Preferred Partner plans and coordinating those efforts with all other Hospitals offering

buch plans.

       68.     In short, each and every Defendant acted with actual knowledge, reckless

disregard, and/or deliberate ignorance in submitting, causing and conspiring in the false

statements, false claims and reverse false claims alleged herein, including but not limited to false

ciaims corresponding to the l4installment payments of the CO-OP loan; false statements to the

Government in NAIC Reports and IRS filings; and omissive and fraudulent marketing and

biirollment materials conveyed to consumers such as the Lincoln brochure, Lincoln plan

summaries, enrollment confirmation letters, member guide, resource guide, and emails

confirming receipt of monthly premiums.

I       69.    Moreover, the fact that each and every Defendant acted with actual knowledge,

ieckless disregard, andlor deliberate ignorance is demonstrated by the details of their

bonspiratorial agreement with each other, as alleged fully below.


               Reverse False Claims.

               (i)     Hospitals and Non-Hospitals

        70.    As evidenced in the following detailed allegations, each of the Defendants,

including Lincoln, MCHC, IHA, MCHC-Service, Tenet, Centegra, Advocate, Adventist,

Presence, Swedish Covenant, IHP, Rush/Riverside, and FHN, agreed with each other to defraud


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the Govemment of S I 60, I 54, 812 by submiuing, and or causing the submission of, false

statements to the Government and to consumers; false claims to the Government; and avoiding

repayment to the Govemment when CO-OP program non-compliance triggered an obligation to

repay the loan. More specif,rcally, each of the Defendants knew and agreed with each other that

several false statements and false claims would be submitted by Lincoln, MCHC, IHA and/or

MCHC-Service to the Government, including the claims and statements alleged above: (a) A

false claims for payment, one for each of the 14 installments paid over the course of January

2013 through February 2016; (b) false NAIC Reports; and (c) false tax returns. Additionally,

each of the Defendants knew and agreed with each other that false statements material to their

false CO-OP loan claims would be made and used with respect to consumers, including the

Lincoln brochure, Lincoln plan summaries, enrollment confirmation letters, member guide,

resource guide, and email communications. Finally, each of the Defendants knew and agreed
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with each other to continue to conceal their wrongdoing in order to improperly avoiding

repayment of the CO-OP loan.

       TL      Additionally, each of the Defendants, including Lincoln, MCHC, IHA, MCHC-

Service, Tenet, Centegra, Advocate, Adventist, Presence, Swedish Covenant, IHP,

RusMRiverside, and FHN, agreed with each other as to the misconduct causing claims and

st6tements submitted to the Govemment to be false, including as alleged above: (a) violating the

CO-Op loan requirement of consumer operation by secretly operating Lincoln through proxies

bnd holding only sham "elections" for Lincoln's board; (b) violating the CO-OP loan

requirement of consumer orientation by designing insurance plans to funnel money to the

Hospitals rather than benefit consumers; and (c) violating the requirement of consumer




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orientation by concealing Lincoln's financial instability and risk of insolvency while marketing
,




and selling its plans to consumers.

          72.     The non-Hospitals (Lincoln, MCHC, IHA and MCHC-service) knew of the sham

elections, and that the Lincoln board consisted solely of Hospital proxies, because MCHC, IHA

and MCHC-Service employees operated Lincoln on a daily basis and took orders from the

MCHC and IHA boards of directors rather than from Lincoln's board. Similarly, those

employees participated in the design and operation of Lincoln's insurance plans, which funneled

lnany millions of dollars in CO-OP loan proceeds, insureds' premiums, and other funds to the

Hospitals. Finally, those employees also created and implemented Lincoln's marketing and sales

policies and practices for its 2016 plans, including the policy and practice of concealing

Lincoln's financial instability and risk of insolvency.

           73.    For their part, the Hospitals (Tenet, Centegra, Advocate, Adventist, Presence,

    Swedish Covenant, IHP, Rush/Riverside, and FHN) knew of the sham elections, and that the

Lincoln board consisted solely of Hospital proxies, because they contributed their own top

executives to be those proxies, and/or had top executives on the MCHC and/or IHA boards that

were secretly controlling Lincoln. Moreover, the Hospitals jointly with Lincoln designed and

operated their respective co-branded plans to benefit themselves rather than consumers, and were

the recipients of many millions of dollars in CO-OP loan proceeds, insureds' premiums, and

other funds. Finally, the Hospitals jointly with Lincoln marketed and sold their respective co-

branded plans, and necessarily agreed to conceal Lincoln's financial instability and risk of

insolvency because disclosure by even one Hospital would "let the cat out of the bag" and doom

the scheme for all of them.




                                                   -'tz
               (iD    Individual Hospitals

       74. Defendants Tenet, VHS and MacNeal/CHS. MacNeal/CHS operates four general
abute care hospitals in Illinois, namely MacNeal Hospital in Berwyn ("MacNeal Hospital"),

Weiss Memorial Hospital in Chicago ("Weiss Hospital"), West Suburban MC in Oak Park, and

Westlake Hospital in Melrose Park.. MacNeal/CHS was a Preferred Partner of Lincoln, and

together they jointly designed, marketed, sold and operated four health insurance plans for 2016

("CHS plans"), namely "Chicago Health System Lincoln 3-Tier PPO plans" at the gold and

silver levels in the individual and family category and gold and silver in the small group
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bategory. These 3-Tier plans were available to residents of Cook County only, where Tenet's

hospitals are located, and not to residents of other counties. MacNeal/CHS's parent

corporations, Defendants Tenet Healthcare Corporation and VHS of Illinois, Inc., actively

controlled, managed and participated in MacNeal/CHS's activities with respect to Lincoln and

the CHS plans. These Defendants entered into an agreement with all other Defendants to

defraud the government in the manner described herein and through the individuals in their

employ took affirmative steps towards realizingthe fraudulent scheme. Those individuals were

MacNeal/CHS's CEO, J. Scott Steiner, who was a Director on the MCHC board in 2015 and

Tenet Healthcare Corporation's CEO of the Northwest Region, Anthony Tedeschi, who was also

CEO of MacNeal/CHS's Weiss Hospital, and who was a Director on the IHA board in20l6.

Specifically, these individuals, on behalf and for the benefit of Defendants Tenet, VHS, and

MacNealA/HS, used their positions of control over Lincoln to fraudulently prevent Lincoln's

lnembers from electing a board of their choosing, and to fraudulently operate Lincoln to benefit

Tenet, VHS, MacNeal/CHS and other Defendants.

       75,     Defendant Centegra. Centegra owns and operates three general acute care

hospitals in Illinois, namely Centegra Hospital-McHenry, Centegra Hospital-Woodstock, and
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Centegra Hospital-Huntley. Centegra was a Preferred Partner of Lincoln, and together they

jointty designed, marketed, sold and operated five health insurance plans for 2016 ("Centegra

plans"), namely ooCentegra Lincoln 3-Tier PPO Plans" at the gold and silver levels in the

individual and family category and platinum, gold and silver in the small group category. These

3-Tier plans were available to residents of McHenry County, where Centegra's hospitals are

located, and nearby Lake County, but not to residents of other counties. Centegra entered into an

agreement with all other Defendants to defraud the government in the manner described herein

and through the individuals in its employ took affirmative steps towards realizingthe fraudulent

scheme. Those individuals were Centegra's CEO, Michael S. Eesley, who was a Director on the

MCHC board in 2015, and was also a Director on the IHA board in20l6, and Jason Sciarro,

bentegra's CFO, who was a Lincoln Director and Treasurer in 2015 and2016. Specifically,

these individuals, on behalf and for the benefit of Centegra, used their positions of control over

Lincoln to fraudulently prevent Lincoln's members from electing a board of their choosing, and

to fraudulently operate Lincoln to benefit Centegra and other Defendants

I      76.     Defendant Advocate. Advocate owns and operates 11 general acute care hospitals

in Illinois, namely Christ Medical Center in Oak Lawn; Condell Medical Center in Libertyville;

Good Samaritan Hospital in Downers Grove; Good Shepherd Hospital in Banington; Illinois

Masonic Medical Center in Chicago; Lutheran General Hospital in Park Ridge; Sherman

Hospital in Elgin; South Suburban Hospital inHazel Crest; and Trinity Hospital in Chicago;

BroMenn Medical Center in Normal; and Eureka Hospital in Eureka. Advocate was a Preferred

Partner of Lincoln, and together they jointly designed, marketed, sold and operated five health

insurance plans for 2016 (*Advocate plans"), namely "Champion Lincoln 3-Tier PPO Plans" at

the gold and silver levels in the individual and family category and platinum, gold and silver in



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the small group category. These 3-Tier plans were available to residents of Cook, Lake, Kane

and DuPage Counties only, where Advocate's hospitals are located, and not to residents of other

counties. Advocate entered into an agreement with all other Defendants to defraud the

government in the manner described herein and through the individuals in its employ took

affirmative steps towards realizing the fraudulent scheme. Those individuals were Susan

Nordstrom Lopez,President of Advocate Hospital Illinois Masonic, who was a Director on the

MCHC board in 2015, and Advocate's Chief Operating Officer, William Santulli, who was a

Director on the IHA board in2016. Specifically, these individuals, on behalf and for the benefit

of Advocate, used their positions of control over Lincoln to fraudulently prevent Lincoln's

members from electing a board of their choosing, and to fraudulently operate Lincoln to benefit

Advocate and other Defendants.

'      77.     Defendant Adventist. Adventist owns and operates four general acute care

hospitals in Illinois, namely Adventist Bolingbrook Hospital in Bolingbrook; Adventist

Glenoaks Hospital in Glendale Heights; Adventist Hinsdale Hospital in Hinsdale; and Adventist

La Grange Medical Center in La Grange. Adventist was a Preferred Partner of Lincoln, and

together they jointly designed, marketed, sold and operated seven health insurance plans for

2016 ("Adventist plans"), namely "Adventist Lincoln PPO Plans" at the gold, silver and bronze

levels in the individual and family category and platinum, gold, silver and bronze in the small

group category. These 3-Tier plans were available to residents of Cook, DuPage and Kane

Counties only, where Adventist's hospitals are located, and not to residents of other counties.

Adventist entered into an agreement with all other Defendants to defraud the government in the

tnanner described herein and through at least one individual in its employ took affirmative steps

tbwards realizingthe fraudulent scheme. That individual was Adventist's President and CEO,



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David L. Crane, who was a Director on the MCHC board in 2015, and who was also a Director

on the IHA board in20l6. Specifically, this individual, on behalf and for the benefit of

Adventist, used his position of control over Lincoln to fraudulently prevent Lincoln's members

from electing a board of their choosing, and to fraudulently operate Lincoln to benefit Adventist

and other Defendants.

       78. Defendant Presence. Presence owns and operates 11 general acute care hospitals
in Illinois, namely Mercy Medical Center in Aurora; Resurrection Medical Center in Chicago;

Saint Francis Hospital in Evanston; Saint Joseph Hospital in Chicago; Saint Joseph Hospital in

Elgin; Saint Joseph Hospital in Joliet; Saint Mary Hospital in Chicago; Saint Elizabeth Medical

Center in Chicago; and St. Mary's Hospital in Kankakee; Covenant Medical Center in Urbana;

and United Samaritans Medical Center in Danville. Presence was a Preferred Partner of Lincoln,

and together they jointly designed, marketed, sold and operated five health insurance plans for

2016 l"Presence plans"), namely "Presence Lincoln 3-Tier PPO Plans" at the gold and silver

levels in the individual and family category and platinum, gold and silver in the small group

category. These 3-Tier plans were available to residents of Cook, DuPage and Kane Counties

only, where Presence's hospitals are located, and not to residents of other counties. Presence

entered into an agreement with all other Defendants to defraud the government in the manner

dbscribed herein and through the individuals in its employ took affirmative steps towards
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realizing the fraudulent scheme. Those individuals were Presence's Executive Vice-President,

David A. Diloreto, who was a Director on the MCHC board in20l5, and Presence's CEO,

Michael Englehart, who was a Director on the IHA board in20l6. Specifically, these

individuals, on behalf and for the benefit of Presence, used their positions of control over




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Lincoln to fraudulently prevent Lincoln's members from electing a board of their choosing, and

to fraudulently operate Lincoln to benefit Presence and other Defendants.

       79.     Defendant Swedish Covenant. Swedish Covenant owns and operates one general

acute care hospital in Illinois, specifically its namesake facility in Chicago. Swedish Covenant

was a Preferred Partner of Lincoln, and together they jointly designed, marketed, sold and

operated five health insurance plans for 2016 ("Swedish Covenant plans"), namely "Swedish

Covenant Lincoln 3-Tier PPO Plans" at the gold and silver level in the individual and family

category and platinum, gold and silver in the small group category. These 3-Tier plans were

available to residents of Cook County only, where Swedish Covenant's hospital is located, and

not to residents of other counties. Swedish Covenant entered into an agreement with all other

Defendants to defraud the government in the manner described herein and through at least one

individual in its employ took affirmative steps towards realizing the fraudulent scheme. That

individual was Swedish Covenant's President and CEO, Mark Newton, who was a Director on

ifre UCUC board in 20 1 5. Specifically, this individual, on behalf and for the benefit of Swedish

Covenant, used his position of control over Lincoln to fraudulently prevent Lincoln's members

from electing a board of their choosing, and to fraudulently operate Lincoln to benefit Swedish

Covenant and other Defendants.

'      80.     Defendants IHP, Northwest, and Edward-Elmhursf. Defendant IHP is a
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iiartnership between Defendants Northwest and Edward-Elmhurst, which collectively operate

three general acute care hospitals in Illinois. Northwest operates Northwest Hospital in Arlington

ileights, and Edward-Elmhurst operates Edward Hospital in Naperville ("Edward") and

Elmhurst Memorial Hospital in Elmhurst ("Elmhurst"). IHP was a Preferred Partner of Lincoln,

and together they jointly designed, marketed, sold and operated five health insurance plans for



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2016 ("IHP plans"), namely "Illinois Health Partners Lincoln 3-Tier PPO Plans" at the gold and

silver levels in the individual and famity category and platinum, gold and silver in the small

group category. These 3-Tier plans were available to residents of Cook, DuPage and Kane

Counties only, where IHP's hospitals are located, and not to residents of other counties. These

Defendants entered into an agreement with all other Defendants to defraud the govemment in the

manner described herein and through the individuals in their employ took affirmative steps

towards realizing the fraudulent scheme. Those individuals were IHP's Stephen Scogna, CEO of

Northwest, who was a Director on the MCHC Board in20l5, Pam Davis, CEO of Edward-

Elmhurst, who was a Director on the IHA board in2016, and Vincent Pryor, Edward-Elmhurst's

CFO, who was a Lincoln director and Treasurer in 2015 and2016. Specifically, these

individuals, on behalf and for the benefit of Defendants IHP, Northwest, and Edward-Elmhurst,

used their positions of control over Lincoln to fraudulently prevent Lincoln's members from

electing a board of their choosing, and to fraudulently operate Lincoln to benefit IHP, Northwest,

Edward-Elmhurst and other Defendants.

'      81   .   Defendants Rush Health, Riverside Healthcare, and Rush University Medical

Center. Defendant Rush Health is a health network that includes Defendants Riverside

Healthcare and Rush University Medical Center. Collectively, they operate four general acute

care hospitals in Illinois, namely Riverside Medical Center in Kankakee, Defendant Rush

University Medical Center in Chicago ("Rush UMC"), Rush Oak Park Hospital in Oak Park, and

Rush-Copley Medical Center in Aurora ("Rush-Copley').. Riverside was a Preferred Partner of

Lincoln, and together they jointly designed, marketed, sold and operated two health insurance

plans for 2016 ("Rush/Riverside plans"), namely "Riverside Lincoln 3-Tier PPO Plans" at the

silver levels in the individual and family category and small group category. These 3-Tier plans



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were available to residents of Kankakee County only, where Riverside's hospital is located, and

not to residents of other counties. These Defendants entered into an agreement with all other

Defendants to defraud the government in the manner described herein and through the

individuals in their employ took affrrmative steps towards realizingthe fraudulent scheme.

Those individuals were Rush's Barry C. Finn, President and CEO of Rush-Copley, who was a

Director on the MCHC board in2015; Riverside's CEO, Phillip Kambic, who was a Director on

the IHA board in20l6; and Brent Estes, Rush Health's CEO and Rush UMC's Senior VP, who

was a Lincoln director and Treasurer in 2015 and2016. Specifically, these individuals, on behalf

and for the benefit of Defendants Rush/Riverside, used their positions of control over Lincoln to

fraudulently prevent Lincoln's members from electing a board of their choosing, and to

fraudulently operate Lincoln to benefit Rush/Riverside and other Defendants.

       82.     Defendont Family Health Network. Family Health Network is a Medicaid health

plan operator. It was a Partner of Lincoln, and together they jointly designed, marketed, sold

and operated four health insurance plans for 2016 ("FHN plans"), namely "Family Health

Network Lincoln 3-Tier PPO Plans" at the silver and bronze levels in the individual and family

Category and silver and bronze in the small group category. FHN entered into an agreement with

hll other Defendants to defraud the government in the manner described herein and through two

entities holding seats on both FHN's board and MCHC's board, as well as at least one individual

in FHN's employ, took affirmative steps towards rcalizingthe fraudulent scheme. The two

entities that held seats on both FHN's board and MCHC's board were Presence and Swedish

bovenant. The individual in FHN's employ was FHN's CEO, Keith Kudla, who was on the

Lincoln board in2015 and2016. Specifically, these entities and individual, on behalf and for the

benefit of FHN, used their positions of control over Lincoln to fraudulently prevent Lincoln's



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members from electing a board of their choosing, and to fraudulently operate Lincoln to benefit

FHN and other Defendants.

                                             COUNT I

                                    FALSE CLAIMS
                            VIOLATING 31 U.S.C. $ 372e(a)(1)(A)

       83. Relator realleges and incorporates by reference all foregoing paragraphs.
       84. This Count, asserted against all Defendants, states a claim for treble damages,
civil penalties and other relief for false claims submitted in violation of the False Claims Act, 31

u.s.c. $ 372e(a)(l)(A).

       85. As alleged herein, Defendants knowingly presented, or caused to be presented, to
the United States government a false or fraudulent claim for payment or approval.

       86. The United States government, unaware of the false or fraudulent nature of these
claims, paid such claims when they would not otherwise have been paid.

       87. By reason of these payments, the United States government has been damaged,
and continues to be damaged, in an amount exceeding $160 million.

                                            COUNT II

                                     FALSE STATEMENTS
                            vroLATrNG 31 U.S.C. S 372e(A)(1XB)

       88. Relator realleges and incorporates by reference all foregoing paragraphs.
       89. This Count, asserted against all Defendants, states a claim for treble damages,
civil penalties and other relief for false statements conveyed to the United States government and

to consumers in violation of the False Claims Act, 31 U.S.C. g 3729(a)(l)(B).

       90. As alleged herein, Defendants knowingly made, used, or caused to be made or
used a false record or statement material to a false or fraudulent claim presented to the United

States government.

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        9I.    The United States government, unaware of the false or fraudulent nature of these

statements, paid claims when they would not otherwise have been paid.

        92.    By reason of these payments, the United States government has been damaged,

and continues to be damaged, in an amount exceeding $160 million.

                                            COUNT III

                                 REVERSE FALSE CLAIMS
                             VIOLATING 31 U.S.C. g 372e(a)(1)(c)
        93.    Relator realleges and incorporates by reference all foregoing paragraphs.

       94.     This Count, asserted against all Defendants, states a claim for treble damages,

civil penalties and other relief for reverse false claims in violation of the False Claims Act, 31

u.s.c. $ 372e(a)(1)(c).

       95. As alleged herein, Defendants knowingly made, used, or caused to be made or
used, a false record or statement to an obligation to pay or transmit money or property to the

United States government, or knowingly concealed or knowingly and improperly avoided or

decreased an obligation to pay or transmit money or property to the Government.

       96. The United States government was unaware of the false or fraudulent nature of
these records or statements, concealments, improper avoidances, or decreased obligations to pay,

and had it known of them the government would have demanded reimbursement of claims

previously paid.
'
       97. By reason of this failure to repay, the United States government has been
damaged, and continues to be damaged, in an amount exceeding $160 million.

                                            COUNT IV

                                    CONSPIRACY
                            VIOLATING 31 U.S.C. g 372e(a)(1)(C)

       98. Relator realleges and incorporates by reference all foregoing paragraphs.
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            99. This Count, asserted against all Defendants, states a claim for treble damages,
    civil penalties and other relief for conspiracy to submit false claims and false statements in

    violation of the False Claims Act, 31 U.S.C. $ 3729(a)(1XC).

            100. As alleged herein, Defendants knowingly conspired to present, or cause to be
    presented, to the United States government a false or fraudulent statement or false or fraudulent

    claim for payment or approval.

            101. The United States government, unaware of the false or fraudulent nature of these
    btatements and claims, paid such claims when they would not otherwise have been paid.

    Additionally, had it known of the false or fraudulent nature of these claims, records or

    statements, concealments, improper avoidances, or decreased obligations to pay, the government

    would have demanded reimbursement of claims previously paid.

            102. By reason of these payments, and failure to repay, the United States government
    has been damaged, and continues to be damaged, in an amount exceeding $160 million.



                                        PRAYER FOR RELIEF

            WHEREFORE, Relator Sherman Marek respectfully request that this Court award

    following relief:

                    a.     To the United States, repayment of 110 percent of the aggregate amount of

    its CO-OP loan, plus interest on that amount for the period it was outstanding, as provided in 42

    u.s.c. $ l 8042(b)(2Xc)(iii);

                   b.      To the United States, three times the amount of its damages as provided in

    3l U.S.C. $ 372e(aX1);

                   c.      To the United States, the maximum amount of civil penalties that may be

    imposed as provided in 31 U.S.C. g 3729(aXl);


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                  d.      To Relator, the maximum "relator's share" that may be awarded as

    provided in 3l U.S.C. $ 3730(d);

                  e.      To the United States and Relator, all expenses of this action, including

    attorneys' fees and costs, as provided in 31 U.S.C . $ 3729(a)(3) and 31 U.S.C. $ 3730(d); and

                   f.     all other relief deemed necessary and proper by the Court.


                                  REOUEST FOR TRIAL BY JURY

           Pursuant to Rule 38 of the Federal Rules of Civil Procedure, Relator Sherman Marek
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    hereby demands atrial by jury.


    DATED: December 5,2017                              MOOR LAW OFFICE, P.C.
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